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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION
                                                      )
 ELITE GAMING TECH LLC.,                              )    Case No.
                                                      )
                                Plaintiff,            )    JURY TRIAL DEMANDED
                                                      )
               v.                                     )
                                                      )
 HITACHI LTD. and                                     )
 HITACHI VANTARA CORPORATION,                         )
                                                      )
                                Defendants.           )
                                                      )


                           COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Elite Gaming Tech LLC. (“EGT” or “Plaintiff”) for its Complaint against

Defendants Hitachi Ltd. and Hitachi Vantara Corporation (collectively, “Hitachi” or

“Defendants”) alleges as follows:

                                              THE PARTIES

       1.           EGT is a limited liability company organized and existing under the laws of the

State of Texas, with its principal place of business located at 102 E. Crockett Street, Marshall,

Texas 75670.

       2.           Upon information and belief, Hitachi, Ltd. is a Japanese corporation, organized and

existing under the laws of Japan, with its principal place of business located at 6-6, Marunouchi

1-chome, Chiyoda-Ku, Tokyo, 100-8280, Japan, and may be served pursuant to the provisions of

the Hague Convention. Upon information and belief, Hitachi Vantara Corporation is a Delaware

corporation.        Upon information and belief, Hitachi Vantara Corporation has a regular and

established place of business in Colin County, Texas at 18111 Preston Road, # 400, Dallas, Texas

75252. Hitachi is a leading manufacturer and seller of computers and server equipment in the
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world and in the United States. Upon information and belief, Hitachi does business in Texas and

in the Eastern District of Texas, directly or through intermediaries.

                                           JURISDICTION

          3.    This is an action for patent infringement arising under the patent laws of the United

States, 35 U.S.C. §§ 1, et seq. This Court has jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1338(a).

          4.    This Court has personal jurisdiction over Defendants.              Defendants regularly

conduct business and have committed acts of patent infringement and/or have induced acts of

patent infringement by others in this Judicial District and/or have contributed to patent

infringement by others in this Judicial District, the State of Texas, and elsewhere in the United

States.

          5.    Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391 and pursuant

to 28 U.S.C. § 1400(b) because, among other things, Hitachi Ltd. is not a resident of the United

States, and thus may be sued in any judicial district pursuant to 28 U.S.C. § 1391(c)(3) and because

Hitachi Vantara Corporation maintains a regular and established place of business in this Judicial

District in Colin County, Texas at 18111 Preston Road, # 400, Dallas, Texas 75252.

          6.    Defendants are subject to this Court’s jurisdiction pursuant to due process and/or

the Texas Long Arm Statute due at least to their substantial business in this State and Judicial

District, including (a) at least part of their past infringing activities, (b) regularly doing or soliciting

business in Texas, and/or (c) engaging in persistent conduct and/or deriving substantial revenue

from goods and services provided to customers in Texas.

                                         PATENTS-IN-SUIT

          7.    On January 9, 2007, the United States Patent and Trademark Office duly and legally




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issued U.S. Patent No. 7,162,578 (the “’578 Patent”) entitled “Digital Device Configuration and

Method.”       A    true   and    correct    copy       of   the   ’578   Patent   is   available    at:

http://pdfpiw.uspto.gov/.piw?Docid=07162578.

       8.      On January 9, 2007, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 7,162,577 (the “’577 Patent”) entitled “Digital Device Configuration and

Method.”       A    true   and    correct    copy       of   the   ’577   Patent   is   available    at:

http://pdfpiw.uspto.gov/.piw?Docid=07162577.

       9.      On June 9, 2009, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 7,546,411 (the “’411 Patent”) entitled “Digital Device Configuration and

Method.” copy of the ’411 Patent is available at: http://pdfpiw.uspto.gov/.piw?Docid=07546411.

       10.     On April 10, 2018, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 9,940,025 (the “’025 Patent”) entitled “Digital Device Configuration and

Method.”       A    true   and    correct    copy       of   the   ’025   Patent   is   available    at:

http://pdfpiw.uspto.gov/.piw?Docid=09940025.

       11.     On January 14, 2014, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 8,631,196 (the “’196 Patent”) entitled “Digital Device Configuration

and Method.”        A true and correct copy of the ’196 Patent is available at:

http://pdfpiw.uspto.gov/.piw?Docid=08631196.

       12.     On March 30, 2010, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 7,689,785 (the “’785 Patent”) entitled “Digital Device Configuration and

Method.”       A    true   and    correct    copy       of   the   ’785   Patent   is   available    at:

http://pdfpiw.uspto.gov/.piw?Docid=07689785.

       13.     EGT is the sole and exclusive owner of all right, title, and interest in the ’578 Patent,




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the ’577 Patent, the ’411 Patent, the ’025 Patent, the ’196 Patent, and the ’785 Patent, (collectively,

the “Patents-in-Suit”), and holds the exclusive right to take all actions necessary to enforce its

rights to the Patents-in-Suit, including the filing of this patent infringement lawsuit. EGT also has

the right to recover all damages for past, present, and future infringement of the Patents-in-Suit

and to seek injunctive relief as appropriate under the law.

       14.     EGT has at all times complied with the marking provisions of 35 U.S.C. § 287 with

respect to the Patents-in-Suit. On information and belief, prior assignees and licensees have also

complied with the marking provisions of 35 U.S.C. § 287.

                                   FACTUAL ALLEGATIONS

       15.     The Patents-in-Suit generally cover systems and methods for use in servers,

motherboards, mobile devices, laptops, and desktop PCs.

       16.     The ’578 Patent generally relates to an electromechanical data storage arrangement

interfaced with a host. The technology described in the ’578 Patent was developed by Curtis H.

Bruner, Lance R. Carlson, and Jeffrey E. Mast. For example, the technology is implemented by

infringing servers, laptops and PCs that include an electromechanical digital data storage

arrangement that includes two or more devices that utilize bi-directional control related data and

routes bi-directional control related serial data to the one or more of the devicesan

electromechanical storage arrangement, a host processing arrangement, and a firmware

arrangement which stores and executes firmware updates limited to a difference between the first

portion of the firmware configuration and the updated firmware configuration.

       17.     The ’577 Patent generally relates to an electromechanical data storage arrangement

interfaced with a host. The technology described in the ’577 Patent was developed by Curtis H.

Bruner, Lance R. Carlson, and Jeffrey E. Mast. For example, the technology is implemented by




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infringing servers, laptops, and PCs that include an interface for electrically connecting an

electromechanical digital data signal storage arrangement and a host device using a plurality of

electrical conductors, such that a selected one of the conductors is multiplexed to carry both read

gate signals and write gate signals.

       18.     The ’411 Patent generally relates to a digital storage element configured for access

by a user responsive to a native control code. The technology described in the ’411 Patent was

developed by Curtis H. Bruner, Lance R. Carlson, and Jeffrey E. Mast. For example, the

technology is implemented by infringing servers, laptops, and PCs that include a digital data

storage arrangement configured to be selectively coupled and uncoupled with a programming

arrangement, which can program a channel to customize the interface formed by the channel

between the rotatable read/write medium and the head arrangement.

       19.     The ’196 Patent generally relates to a digital storage element configured for access

by a user responsive to a native control code. The technology described in the ’196 Patent was

developed by Curtis H. Bruner, Lance R. Carlson, and Jeffrey E. Mast. For example, the

technology is implemented by infringing servers, laptops, PCs, phones and tablets that contain a

digital data storage arrangement which performs portions of data transfer operation in response to

two or more actions.

       20.     The ’025 Patent generally relates to a digital storage element configured for access

by a user responsive to a native control code. The technology described in the ’025 Patent was

developed by Curtis H. Bruner, Lance R. Carlson, and Jeffrey E. Mast. For example, the

technology is implemented by infringing servers, laptops, tablets, phones, and PCs that monitor

the user interaction and transfer selected data from digital data storage arrangements to solid-state

memory.




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       21.     The ’785 Patent generally relates to systems and methods for transferring data

between storage components in a device. The technology described in the ’785 was developed by

Curtis H. Bruner, John F. Fletcher, and Frida E. R. Fletcher. For example, the technology is

implemented by infringing servers, laptops, and PCs that contain an electromechanical data storage

arrangement, at least a portion of which is within a handheld enclosure, configured to transfer data

based on user interaction.

       22.     Third-parties Western Digital (“WD”) and Hitachi Global Storage Technologies

(“HGST”) supply Hard Disk Drives (“HDDs”) that implement the infringing technologies. These

Hard Disk Drives include WD Blue, Black, Red, Purple, and Gold drives, as well as HGST

Ultrastar, Travelstar, Deskstar, Endurastar, and Cinemastar drives. Hitachi makes, uses, sells,

and/or imports computers, such as desktops, laptops, tablets, and servers, that include one or more

WD and/or HGST HDDs. For example, upon information and belief, these infringing computers

include the Hitachi computers that include one or more WD and/or HGST HDDs, such as the

HGST Travelstar 5k1500.

       23.     Hitachi has infringed and is continuing to infringe the Patents-in-Suit by making,

using, selling, offering to sell, and/or importing, and by actively inducing others to make, use, sell,

offer to sell, and/or import, products including, but not limited to, servers including, but not limited

to, Hitachi Servers including, but not limited, to Hitachi Virtual Storage Platform 5000 Series

(VSP) Servers including but not limited to, the E Series, F, Series, G, Series, and RF Series servers,

Advanced Server DS2552 servers, Hitachi NAS Platform Servers including, but not limited to, the

HNAS 5000 Series systems, Hitachi Content Platform Modules including, but not limited to, the

G11, VM, S11, and S31 modules, Hitachi Bladesymphony Servers including, but not limited to,

the Bladesymphony 1000, 2000 and 320 Series servers, Hitachi Compute Blade Servers including




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but not limited to, the CB520H and CB520X servers, Hitachi Everflex solutions, desktop PCs,

laptop computers, as well as Hitachi tablets and handheld devices that infringes the Patents-in-

Suit.

                                          COUNT I
                               (Infringement of the ’578 Patent)

        24.    Paragraphs 1 through 23 are incorporated by reference as if fully set forth herein.

        25.    EGT has not licensed or otherwise authorized Defendants to make, use, offer for

sale, sell, or import any products that embody the inventions of the ’578 Patent.

        26.    Defendants have and continue to directly infringe the ’578 Patent, either literally or

under the doctrine of equivalents, without authority and in violation of 35 U.S.C. § 271, by making,

using, offering to sell, selling, and/or importing into the United States products that satisfy each

and every limitation of one or more claims of the ’578 Patent. Such products include computer

devices, such as laptops, desktops, servers, and tablets that utilize an electromechanical storage

arrangement, such as a WD or HGST HDD, a host processing arrangement, and a firmware

arrangement which stores and executes firmware updates limited to a difference between the first

portion of the firmware configuration and the updated firmware configuration. On information

and belief, such Hitachi products include at least the server, laptop, and desktop systems that

include one or more WD and/or HGST HDDs.

        27.    For example, Defendants have and continue to directly infringe at least claim 25 of

the ’578 Patent by making, using, offering to sell, selling, and/or importing into the United States

products that include a host processing arrangement, and a firmware arrangement which stores and

executes firmware updates limited to a difference between the first portion of the firmware

configuration and the updated firmware configuration, such as the Hitachi VSP 5500H.

        28.    The Hitachi VSP 5500H includes a host device having a host processing



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arrangement for controlling the overall host device and for operational support of an

electromechanical storage arrangement which is initially provided separate from the host device,

and which stores digital data on a rotatable disk, and a particular firmware configuration is used

for controlling a particular version of the storage arrangement. Upon information and belief, the

storage arrangement may be provided in an updated version which requires an updated firmware

configuration. Upon information and belief, the firmware control arrangement comprises a

firmware ROM section of the host device which stores at least a first portion of the particular

firmware configuration for controlling the particular version of the storage arrangement. Upon

information and belief, the firmware update is stored separate from the first portion of the firmware

configuration, that is limited to a difference between the first portion of the firmware configuration

and the updated firmware configuration for access by the host processing arrangement. Upon

information and belief, the firmware control arrangement further comprises an instruction set that

causes the host processing arrangement to retrieve the firmware update from the storage

arrangement. Upon information and belief, the firmware update is executed using the difference,

along with executing an unmodified part of the first portion of the firmware configuration from

the firmware ROM section, to implement the updated firmware configuration without a need to

replace the first portion of the firmware configuration as stored in the firmware ROM. Upon

information and belief, the first portion of the firmware configuration is required to allow the

storage arrangement to access a second portion of the firmware configuration that is stored on the

rotatable disk. Upon information and belief, the firmware update includes the difference in the

first portion of the updated firmware configuration, such that the firmware update is required to

access data that is stored on the disk of the updated version of the storage arrangement.

       29.     Defendants have and continue to indirectly infringe one or more claims of the ’578




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Patent by knowingly and intentionally inducing others, including Hitachi customers and end-users,

to directly infringe, either literally or under the doctrine of equivalents, by making, using, offering

to sell, selling and/or importing into the United States products that include infringing technology,

such as laptops, desktops, and servers, that include a host processing arrangement, and a firmware

arrangement which stores and executes firmware updates limited to a difference between the first

portion of the firmware configuration and the updated firmware configuration.

       30.     Defendants, with knowledge that these products, or the use thereof, infringe the

’578 Patent at least as of the date of this Complaint, knowingly and intentionally induced, and

continues to knowingly and intentionally induce, direct infringement of the ’578 Patent by

providing these products to end-users for use in an infringing manner.

       31.     Defendants have induced infringement by others, including end-users, with the

intent to cause infringing acts by others or, in the alternative, with the belief that there was a high

probability that others, including end-users, infringe the ’578 Patent, but while remaining willfully

blind to the infringement.

       32.     EGT has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’578 Patent in an amount to be proved at trial.

       33.     EGT has suffered, and will continue to suffer, irreparable harm as a result of

Defendants’ infringement of the ’578 Patent, for which there is no adequate remedy at law, unless

Defendants’ infringement is enjoined by this Court.

                                          COUNT II
                                (Infringement of the ’577 Patent)

       34.     Paragraphs 1 through 23 are incorporated by reference as if fully set forth herein.

       35.     EGT has not licensed or otherwise authorized Defendants to make, use, offer for

sale, sell, or import any products that embody the inventions of the ’577 Patent.



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       36.     Defendants have and continue to directly infringe the ’577 Patent, either literally or

under the doctrine of equivalents, without authority and in violation of 35 U.S.C. § 271, by making,

using, offering to sell, selling, and/or importing into the United States products that satisfy each

and every limitation of one or more claims of the ’577 Patent. Such products include computer

devices, such as laptops, desktops, servers, and tablets, that utilize an electromechanical storage

arrangement, such as a WD or HGST HDD, and include an interface for electrically connecting an

electromechanical digital data signal storage arrangement and a host device using a plurality of

electrical conductors, such that a selected one of the conductors is multiplexed to carry both read

gate signals and write gate signals. On information and belief, such Hitachi products include at

least the server, laptop, and desktop systems that include one or more WD and/or HGST HDDs.

       37.     For example, Defendants have and continue to directly infringe at least claim 1 of

the ’577 Patent by making, using, offering to sell, selling, and/or importing into the United States

products that include an interface for electrically connecting an electromechanical digital data

signal storage arrangement and a host device using a plurality of electrical conductors, such that a

selected one of the conductors is multiplexed to carry both read gate signals and write gate signals,

such as the Hitachi VSP 5500H.

       38.     The Hitachi VSP 5500H includes a digital system comprising an electromechanical

digital data storage arrangement including a rotatable disk, which is responsive to a read gate signal

for initiating a read therefrom and responsive to a write gate signal for initiating a write thereto.

The Hitachi VSP 5500H further includes a host device that is configured for controlling the data

storage arrangement and for generating a read gate signal and a write gate signal in a mutually

exclusive way. Upon information and belief, the Hitachi VSP 5500H further includes an interface

electrically interconnecting the data storage arrangement and the host device using a plurality of




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electrical conductors, such that a selected one of the conductors is multiplexed to carry both the

read gate signal and the write gate signal.

       39.     Defendants have and continue to indirectly infringe one or more claims of the ’577

Patent by knowingly and intentionally inducing others, including Hitachi customers and end-users,

to directly infringe, either literally or under the doctrine of equivalents, by making, using, offering

to sell, selling and/or importing into the United States products that include infringing technology,

such as laptops, desktops, servers, that include an interface for electrically connecting an

electromechanical digital data signal storage arrangement and a host device using a plurality of

electrical conductors, such that a selected one of the conductors is multiplexed to carry both read

gate signals and write gate signals.

       40.     Defendants, with knowledge that these products, or the use thereof, infringe the

’577 Patent at least as of the date of this Complaint, knowingly and intentionally induced, and

continues to knowingly and intentionally induce, direct infringement of the ’577 Patent by

providing these products to end-users for use in an infringing manner.

       41.     Defendants have induced infringement by others, including end-users, with the

intent to cause infringing acts by others or, in the alternative, with the belief that there was a high

probability that others, including end-users, infringe the ’577 Patent, but while remaining willfully

blind to the infringement.

       42.     EGT has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’577 Patent in an amount to be proved at trial.

       43.     EGT has suffered, and will continue to suffer, irreparable harm as a result of

Defendants’ infringement of the ’577 Patent, for which there is no adequate remedy at law, unless

Defendants’ infringement is enjoined by this Court.




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                                         COUNT III
                               (Infringement of the ’411 Patent)

        44.    Paragraphs 1 through 23 are incorporated by reference as if fully set forth herein.

        45.    EGT has not licensed or otherwise authorized Defendants to make, use, offer for

sale, sell, or import any products that embody the inventions of the ’411 Patent.

        46.    Defendants have and continue to directly infringe the ’411 Patent, either literally or

under the doctrine of equivalents, without authority and in violation of 35 U.S.C. § 271, by making,

using, offering to sell, selling, and/or importing into the United States products that satisfy each

and every limitation of one or more claims of the ’411 Patent. Such products include computer

devices, such as laptops, desktops, servers, and tablets, that utilize an electromechanical storage

arrangement, such as a WD or HGST HDD and that include a digital data storage arrangement

configured to be selectively coupled and uncoupled with a programming arrangement, which can

program a channel to customize the interface formed by the channel between the rotatable

read/write medium and the head arrangement. On information and belief, such Hitachi products

include at least the server, laptop, and desktop systems that include one or more WD and/or HGST

HDDs.

        47.    For example, Defendants have and continue to directly infringe at least claim 1 of

the ’411 Patent by making, using, offering to sell, selling, and/or importing into the United States

products that include a digital data storage arrangement configured to be selectively coupled and

uncoupled with a programming arrangement, which can program a channel to customize the

interface formed by the channel between the rotatable read/write medium and the head

arrangement, such as the Hitachi VSP 5500H.

        48.    The Hitachi VSP 5500H performs a method using an electromechanical digital data

storage arrangement including a disk for storing first data thereon, the digital data storage



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arrangement including two or more digital devices that each have a dedicated serial interface.

Upon information and belief, using one or more WD or HGST HDDs, the Hitachi VSP 5500H

provides bi-directional control related serial data that is clocked using a clock signal. Upon

information and belief, using one or more WD or HGST HDDs, the Hitachi VSP 5500H writes

first data to a disk using the clock signal as a time base reference. Upon information and belief,

using one or more WD or HGST HDDs, the Hitachi VSP 5500H sets a serial router to route the

bi-directional control related serial data to a selected one of the digital devices so as to implement

a particular command set for the selected one of the digital devices. Upon information and belief,

using one or more WD or HGST HDDs, the Hitachi VSP 5500H routes the bi-directional control

related serial data to the selected one of the digital devices via the dedicated serial interface of the

selected device.

       49.     Defendants have and continue to indirectly infringe one or more claims of the ’411

Patent by knowingly and intentionally inducing others, including Hitachi customers and end-users,

to directly infringe, either literally or under the doctrine of equivalents, by making, using, offering

to sell, selling and/or importing into the United States products that include infringing technology,

such as laptops, desktops, servers, that include a digital data storage arrangement configured to be

selectively coupled and uncoupled with a programming arrangement, which can program a channel

to customize the interface formed by the channel between the rotatable read/write medium and the

head arrangement.

       50.     Defendants, with knowledge that these products, or the use thereof, infringe the

’411 Patent at least as of the date of this Complaint, knowingly and intentionally induced, and

continues to knowingly and intentionally induce, direct infringement of the ’411 Patent by

providing these products to end-users for use in an infringing manner.




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       51.     Defendants have induced infringement by others, including end-users, with the

intent to cause infringing acts by others or, in the alternative, with the belief that there was a high

probability that others, including endusers, infringe the ’411 Patent, but while remaining willfully

blind to the infringement.

       52.     EGT has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’411 Patent in an amount to be proved at trial.

       53.     EGT has suffered, and will continue to suffer, irreparable harm as a result of

Defendants’ infringement of the ’411 Patent, for which there is no adequate remedy at law, unless

Defendants’ infringement is enjoined by this Court.

                                          COUNT IV
                                (Infringement of the ’025 Patent)

       54.     Paragraphs 1 through 23 are incorporated by reference as if fully set forth herein.

       55.     EGT has not licensed or otherwise authorized Defendants to make, use, offer for

sale, sell, or import any products that embody the inventions of the ’025 Patent.

       56.     Defendants have and continue to directly infringe the ’025 Patent, either literally or

under the doctrine of equivalents, without authority and in violation of 35 U.S.C. § 271, by making,

using, offering to sell, selling, and/or importing into the United States products that satisfy each

and every limitation of one or more claims of the ’025 Patent. Such products include computer

devices, such as laptops, desktops, servers, and tablets, that utilize a digital data storage

arrangement, a solid-state memory (SSD), a user interface, and a processor. On information and

belief, such Hitachi products include at least the server, laptop, phones and tablets and desktop

systems that include one or more WD and/or HGST HDD, SSD, solid state hybrid drive (SSHD),

or any other type of solid-state memory including, but not limited to, flash memory, RAM memory,

and 3D XPoint memory.



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       57.     For example, Defendants have and continue to directly infringe at least claim 1 of

the ’025 Patent by making, using, offering to sell, selling, and/or importing into the United States

products that include a digital data storage arrangement, solid-state memory, a user interface, and

a processor, such as HITACHI VSP 5500H:

       58.     The HITACHI VSP 5500H includes a solid-state memory, such as a SSD, flash,

RAM, or 3d XPoint memory.           The HITACHI VSP 5500H includes a digital data storage

arrangement configured to store data, wherein the digital data storage arrangement is susceptible

to data corruption or unavailability from mechanical shock, such as data stored on an HDD or

SSD. The HITACHI VSP 5500H includes a user interface configured to receive user interaction

with the user interface. The HITACHI VSP 5500H includes a processor configured to monitor the

user interaction to define a particular use of a selected data stored on the digital data storage

arrangement, such as SoC’s located on the HDD, SSDs and throughout the digital storage

arrangement. The processor is further configured to transfer the selected data from the digital data

storage arrangement to the solid-state memory based on the monitoring, such that the selected data

is subsequently available in the solid-state memory without the need to access the digital storage

arrangement, wherein the transfer of the selected data begins prior to the termination of the user

interaction.

       59.     Defendants have and continue to indirectly infringe one or more claims of the ’025

Patent by knowingly and intentionally inducing others, including Hitachi customers and end-users,

to directly infringe, either literally or under the doctrine of equivalents, by making, using, offering

to sell, selling and/or importing into the United States products that include infringing technology,

such as laptops, desktops, servers, phones and tablets, that utilize digital data storage arrangement,

solid-state memory, a user interface, and a processor.




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       60.     Defendants, with knowledge that these products, or the use thereof, infringe the

’025 Patent at least as of the date of this Complaint, knowingly and intentionally induced, and

continue to knowingly and intentionally induce, direct infringement of the ’025 Patent by

providing these products to end-users for use in an infringing manner.

       61.     Defendants have induced infringement by others, including end-users, with the

intent to cause infringing acts by others or, in the alternative, with the belief that there was a high

probability that others, including end-users, infringe the ’025 Patent, but while remaining willfully

blind to the infringement.

       62.     EGT has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’025 Patent in an amount to be proved at trial.

       63.     EGT has suffered, and will continue to suffer, irreparable harm as a result of

Defendants’ infringement of the ’025 Patent, for which there is no adequate remedy at law, unless

Defendants’ infringement is enjoined by this Court.

                                          COUNT V
                                (Infringement of the ’196 Patent)

       64.     Paragraphs 1 through 23 are incorporated by reference as if fully set forth herein.

       65.     EGT has not licensed or otherwise authorized Defendants to make, use, offer for

sale, sell, or import any products that embody the inventions of the ’196 Patent.

       66.     Defendants have and continue to directly infringe the ’196 Patent, either literally or

under the doctrine of equivalents, without authority and in violation of 35 U.S.C. § 271, by making,

using, offering to sell, selling, and/or importing into the United States products that satisfy each

and every limitation of one or more claims of the ’196 Patent. Such products include computer

devices, such as laptops, desktops, servers, and tablets that contain a computer-readable medium

which receive a command and perform identity and directive actions irrespective of the state of



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the host device. On information and belief, such Hitachi products include at least the server,

laptop, desktop systems, phones and tablets that include one or more WD and/or HGST HDDs, an

SSD, solid state hybrid drive (SSHD), or any other type of solid-state memory including, but not

limited to, flash memory, RAM memory, and 3D XPoint memory.

       67.     For example, Defendants have and continue to directly infringe at least claim 1 of

the ’196 Patent by making, using, offering to sell, selling, and/or importing into the United States

products that that contain a computer-readable medium which receive a command and perform

identity and directive actions, irrespective of the state of the device, such as HITACHI VSP 5500H.

The HITACHI VSP 5500H contains a computer-readable medium storing instructions that, when

executed by a computing system, cause the computing system to perform operations comprising

receiving a command, the command related to one or more sets of data and a job to be performed

with respect to the one or more of the sets of data. The command is irrespective of a state of the

host device, comprising two or more actions, wherein the two or more actions comprise one or

more identity actions that identify the one or more sets of data, and one or more directive actions,

distinct from the identity actions, that specify the job to be performed. Upon information and

belief, the data storage arrangement to perform a first portion of a data transfer operation related

to one or more identified sets of data, the first portion of the data transfer operation performed

before the command has been completed and after at least one identity action of the command has

been performed.

       68.     Defendants have and continue to indirectly infringe one or more claims of the ’196

Patent by knowingly and intentionally inducing others, including Hitachi customers and end-users,

to directly infringe, either literally or under the doctrine of equivalents, by making, using, offering

to sell, selling, and/or importing into the United States products that include infringing technology,




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such as laptops, desktops, servers, phones and tablets, that contain a computer-readable medium

which receives a command and performs identity and directive actions irrespective of the state of

the host device.

       69.     Defendants, with knowledge that these products, or the use thereof, infringe the

’196 Patent at least as of the date of this Complaint, knowingly and intentionally induced, and

continue to knowingly and intentionally induce, direct infringement of the ’196 Patent by

providing these products to end-users for use in an infringing manner.

       70.     Defendants have induced infringement by others, including end-users, with the

intent to cause infringing acts by others or, in the alternative, with the belief that there was a high

probability that others, including end-users, infringe the ’196 Patent, but while remaining willfully

blind to the infringement.

       71.     EGT has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’196 Patent in an amount to be proved at trial.

       72.     EGT has suffered, and will continue to suffer, irreparable harm as a result of

Defendants’ infringement of the ’196 Patent, for which there is no adequate remedy at law, unless

Defendants’ infringement is enjoined by this Court.

                                          COUNT VI
                                (Infringement of the ’785 Patent)

       73.     Paragraphs 1 through 23 are incorporated by reference as if fully set forth herein.

       74.     EGT has not licensed or otherwise authorized Defendants to make, use, offer for

sale, sell, or import any products that embody the inventions of the ’785 Patent.

       75.     Defendants have and continue to directly infringe the ’785 Patent, either literally or

under the doctrine of equivalents, without authority and in violation of 35 U.S.C. § 271, by making,

using, offering to sell, selling, and/or importing into the United States products that satisfy each



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and every limitation of one or more claims of the ’785 Patent. Such products include computer

devices, such as laptops, desktops, and servers, that include an electronic memory, an

electromechanical data storage arrangement, a user interface, and a controller. On information and

belief, such Hitachi products include at least the server, laptop and desktop systems that include

one or more WD and/or HGST HDDs.

       76.     For example, Defendants have and continue to directly infringe at least claim 1 of

the ’382 Patent by making, using, offering to sell, selling, and/or importing into the United States

products that include electronic memory, an electromechanical data storage arrangement, a user

interface, and a controller, such as the HITACHI VSP 5500H. The HITACHI VSP 5500H includes

an electronic memory, such as HDDs, an SSD, solid state hybrid drive (SSHD), or any other type

of solid-state memory including, but not limited to, flash memory, RAM memory, and 3D XPoint

memory.      The HITACHI VSP 5500H also includes an electromechanical data storage

arrangement, such as an HDD, and an enclosure at least partially containing the electronic memory

and the electromechanical data storage arrangement, the enclosure of a size to be held in a user’s

hand. The HITACHI VSP 5500H also includes a user interface configured to receive user inputs

in the form of a user contact with the user interface and, upon information and belief, a controller

configured to transfer first data from the electromechanical data storage arrangement to the

electronic memory in response to the user contact, wherein the transfer of the first data begins

before the user contact end and to enable transfer of the first data only so long as the user contact

with the user interface is occurring.

       77.     Defendants have and continue to indirectly infringe one or more claims of the ’785

Patent by knowingly and intentionally inducing others, including Hitachi customers and end-users,

to directly infringe, either literally or under the doctrine of equivalents, by making, using, offering




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to sell, selling, and/or importing into the United States products that include infringing technology,

such as laptops, desktops, and servers, that include an electronic memory, an electromechanical

data storage arrangement, a user interface, and a controller.

       78.     Defendants, with knowledge that these products, or the use thereof, infringe the

’785 Patent at least as of the date of this Complaint, knowingly and intentionally induced, and

continues to knowingly and intentionally induce, direct infringement of the ’785 Patent by

providing these products to end-users for use in an infringing manner.

       79.     Defendants have induced infringement by others, including end-users, with the

intent to cause infringing acts by others or, in the alternative, with the belief that there was a high

probability that others, including end-users, infringe the ’785 Patent, but while remaining willfully

blind to the infringement.

       80.     EGT has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’785 Patent in an amount to be proved at trial.

       81.     EGT has suffered, and will continue to suffer, irreparable harm as a result of

Defendants’ infringement of the ’785 Patent, for which there is no adequate remedy at law, unless

Defendants’ infringement is enjoined by this Court.

                                  DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury for all issues so triable.

                                     PRAYER FOR RELIEF

         WHEREFORE, EGT prays for relief against Defendants as follows:

       a.      Entry of judgment declaring that Defendants have directly and/or indirectly

infringed one or more claims of each of the Patents-in-Suit;

       b.      An order pursuant to 35 U.S.C. § 283 permanently enjoining Defendants, its




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officers, agents, servants, employees, attorneys, and those persons in active concert or

participation with them, from further acts of infringement of one or more of the Patents-in-Suit;

       c.      An order awarding damages sufficient to compensate EGT for Defendants’

infringement of the Patents-in-Suit, but in no event less than a reasonable royalty, together with

interest and costs;

       d.      Entry of judgment declaring that this case is exceptional and awarding EGT its

costs and reasonable attorney fees under 35 U.S.C. § 285; and

       e.      Such other and further relief as the Court deems just and proper.

Dated: August 27, 2021                               Respectfully submitted,

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